IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

 

 

K — \) NTA STAN LE Y Complaint for Employment

Discrimination

 

4: Bo-tu: V9F- SRB

(Write the full name of each plaintiff who is filing Case No:

ils complains If the names of all the planks (to be filled in by the Clerk’ s Office)
cannot fit in the space above, please write “see

 

attached” in the space and attach an additional
page with the full list of names.)

-against-

ANDREW SAUL
_COMMESSTONER OF SOCTAL
SECURT TY ADMINISTRATION

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see

 

attached” in the space and attach an additional
page with the full list of names.)

 

 

ay

REQUEST FOR TRIAL BY JURY

3.

 

 

 

 

 

 

Plaintiff requests trial by jury. “\l Yes _L_| No

 

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[. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name KTUNTA STANLEY

Street Address

City and County KANSAS CITY , TACK SON
State and Zip Code MUTSSQOURT. A430
Telephone Number BLb ~— GAlo ~ 48 65

E-mail Address

 

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,

_ whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

 

Name ANDREW SAL
Job or Title COMMISSTONER OF SOCTAL SECURITY
(if known) ADMINTSIRATION

Street Address (o401 SECURTY Rib.

City and County WOOSLAWN ; ALECANY
State and Zip Code MARNLAND — 2,12,07
Telephone Number (440) 405 -— BAZ (HQ)

E-mail Address
(if known)

 

Defendant No, 2

Name

 

Job or Titie
(if known)
Street Address

 

 

City and County

 

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State and Zip Code

 

Telephone Number

 

E-mail Address
(if known)

 

Ge Place of Employment

The address at which I sought employment or was employed by the defendant(s)

1S:

San U.S. SOCTAL SECURTTY ADMINISTRATION

Street Address OLE. 127TH ST. Ceicuarn ADLLING- FEDERAL BLIS
City and County KAN SAS CITY TYACKSON
State and Zip Code M1 SOURL (D4410(5
Telephone Number BAI lo = Galo -5707

IL. Cause of Action

This action is brought for discrimination in employment pursuant to (check all that

apply):

A

i

 

 

 

 

 

 

 

 

 

 

 

 

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. 8§ 2000¢

Me eke

to 2000e-17 (race, color, gender, religion, national origin).

(Note: fi order te bring suit in federal district court under Title VII, you
must first obtain a Notice of Right to Sue letter from the Equal

Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
§§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age
Discrimination in Employment Act, you must first file a charge with the
Equal Employment Opportunity Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
to 12117.

(Note: In order to bring suit in federal district court under the Americans
with Disabilities Act, you must first obtain a Notice of Right to Sue letter

Jrom the Equal Employment Opportunity Commission.)

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Other federal law (specify the federal law):

UNTON ARTICLE 23. SECTION 7 “REMOVAL. a. 2) SP STON OF
AN EMPLOYE = SON, , BACKED CONTRACT

; Missouri Human Rights Act, Missouri Revised Statute §2

 

 

 

 

s Other state law (specify, if known):

RETALIATION PROTECTION - MO. DEPT OF LABOR

Relevant city or county law (specify, if known):

 

 

 

 

 

 

 

iii. Administrative Procedures
A. Did you file a charge of discrimination against Defendant(s) with the Equal
Employment Opportunity Commission or other sedesal agency?
x DECEMBER, - en 441 i
Yes Date filed:
: No

 

 

 

Aliacn copy of ihe charge iv inis Compiaini

B. Have you received a Notice of Right-to-Sue Letter from the Equal Employment
Opportunity Commission?

Yes M No

 

 

 

 

 

C. Did you file a charge of discrimination against Defendant(s) with the Missouri
Commission on Human Rights?
<a ee
yes Date Tiled:
No

 

 

 

 

 

Attach copy of the charge to this Complaint

D. Have you received a Notice of Right-to-Sue Letter from the Missouri Human
Rights Commission?

Ld ves A No

If yes, please attach a copy of the letter te this Complaint.

 

 

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E. If you are claiming age discrimination, check one of the following: NM A

 

 

_60 days or more have passed since I filed my charge of age discrimination with the
Equal Employment Opportunity Commission.

 

 

 

fewer than 60 days have passed since I filed my charge of age discrimination with
the Equal Employment Opportunity Commission

 

IV. Statement of Claim

A. The discriminatory conduct of which I complain in this action includes (check all
that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation/ REPRISAL

Harassment/Hostile Work Environment

Other acts (specify): TEs °

 

, ASS
WORK CONDITIONS
(Note: Only those grounds raised in the charge filed with the Equal

Employment Opportunity Commission can be considered by the federal
district court under the federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on the
following date(s):

l, 2019 - 1, £019
a I believe that defendant(s) (check one):

| is/are still committing these acts against me.

 

x] is/are not still committing these acts against me.

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D. Detendant(s) discriminated against me based on my (check all that apply and
explain):

———

 

race

 

 

 

color

 

 

gender/sex

 

 

religion

 

 

national origin

 

 

age. My year of birth is . (Give your year of birth

 

only if you are asserting a ciaim oj age discrimination.)

 

disability or perceived disability (specify disability)

 

 

 

 

E. Wnite a short and plain statement of FACTS that support your claim. Do not
make legal arguments. You must include the following information:

What happened to you?

* What injuries did you suffer?

* Who was involved in what happened to you?

° How were the defendants involved in what happened to you?
* Where did the events you have described take place?

* When did the events you have described take place?

4 chart and nlain
nm MJEL LOREM

Tf more than ane claim ic accerted aumbhear cach claim and urrite
RA PRAW7E WS LELGand Wrekw WECEEEEE A Lew Tw Ns SERAREEEFW Whew WELAEEEL CELIRA VR Ae

statement of each claim in a separate paragraph. Attach additional pages if needed.

THERE ARE SEVERAL CLAIMS “THAT T HAVE AGATAIST

NN Fe pe CURLTY

ADMINT SIRATION. “THE Foti pWIne 1.7 Paces
ATTACHED STATE THE FACTS Tb SvPPART.

 

 

 

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V.

VI.

 

 

 

Relief

As relief from the allegations of discrimination as stated above, Plaintiff prays that the court

grant the following relief to Plaintiff: (check any and all that apply)

 

 

 

Defendant be directed to employ Plaintiff
& | Defendant be directed to re- employ Plaintiff
Defendant be directed to promote Plaintiff

Defendant be directed to pay.court wets ,pracecs sefver fees, lawyer ests Hany
Monetary damages (please explain): $200,000 ——> OF PLAIN TLFF

As additional relief to make Plaintiff whole, Plaintiff seeks (please specify and

 

 

explain):

E ae ROVALS

AND DENTALS} How MANAGEMENT CONSIDERS STANDARDS
AND PRPECTATIONS To CLEAR PROBATIONARY) PERTOD ENPLYEES

Certification and Closing

Under Federal Rule of Crvil Procedure 11, by signing below, | certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the

camnilaint atheruice ca omolies with the requirements of Rule | 1
COMpiaiht Cinerywise Cor equ she i

I agree to provide the Clerk’s Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with
the Clerk’s Office may result in the dismissal of my case.

Date of signing: June 2. 2020,

Signature of Plaintiff Dyista Mol
Printed Name of Plaintiff KI UNTA STANLEY

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MONETARY CONT.

 

 

V. ‘Relief

As relief from the allegations of discrimination as stated above, Plaintiff prays that the court

CONT...» .

TO EVALLATE WHETHER THERE TS DISPARATE TREATMENT
IN TRAT NING.

DEFENDENT Be DIRECTED TO CONDUCT UNCONSCIOUS BIAS
TRAINING FoR ALL EMPLOYEES WHO BECOME TRAFNERS AND

ALL LEVELS OF MANAGEMENT So THEY CAn) BECOME AWARE
OF THEIR BIASES THROUGH COMPREHENSTYE , URDATED

TEATNING THAT WILL KEEP DEFENDENT'S EMPLOYEES
ATTUNED TO THE SUBTLE AND UNCONSCIOUS WAYS THAT
RACE BIAS AND ANY FORM OF PRESUDICE CAN NEGATIVELY
ACEECT ALL ASPECTS OF EMPLOYMENT.

DEFENDENT BE DIRECTED To DEVELOP A GUIDELINE Tr

Linen’ T ONE ALREADY ) FOR MANAGEMENT TO TERMINATE
EMPLONEE’S IN A RESPECTRAL TONE AND MANWER. AND

To FOLLOW THE TERMINATION INSTRUCTIONS THEY LEGALLY
SET roeTit IN THEIR EMPLOYEES TERMINATION LETTERS.

DE FENDENT GE DIRECTED TO CREDIT THE PLAINTIFF
HER EARNED GRADE STEP From 5 10 A GRADE 6
Tr Tr IS PRON prscRTMINATION / wroneruL
TERMINATION o(tvRRED.

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